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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION

 UNITED STATES OF AMERICA                                             PLAINTIFF/RESPONDENT

 v.                                    No. 2:03-CR-20039-001

 NHAN VAN NGUYEN                                                      DEFENDANT/PETITIONER

                                             ORDER

        The Court has received a report and recommendations (Doc. 245) from United States

 Magistrate Judge Mark E. Ford. No objections have been filed and the deadline for objections has

 passed. The Magistrate recommends that Petitioner’s motion to vacate (Doc. 235) be dismissed

 with prejudice. The Court has reviewed this case and finds that the report is proper, contains no

 clear error, and should be and hereby is ADOPTED IN ITS ENTIRETY.

        Petitioner has also filed a motion (Doc. 239) to reduce his sentence on the basis of the 2014

 amendments to the United States Sentencing Guidelines. This motion is identical to a motion

 Petitioner filed in another case before this Court. See United States v. Nhan Van Nguyen, Case

 No. 2:10-CR-20057-001, Doc. 309 (W.D. Ark. June 27, 2016). In that case, the motion was denied

 because Petitioner’s guidelines sentence was calculated using the career offender guideline. In

 this case, the motion to reduce his sentence is denied because Petitioner is no longer serving a

 sentence. In this case, Petitioner was sentenced on February 11, 2004 to a term of imprisonment

 for 70 months and a term of supervised release for 5 years. (Doc. 119). He began his term of

 supervised release on January 28, 2009. On November 3, 2011, Petitioner’s term of supervised

 release was revoked, and he was sent back to prison for a term of 18 months, to run concurrent

 with his sentence in the other case. The term of imprisonment imposed upon revocation of his

 supervised release—that is, the term of imprisonment imposed in this case—has expired. There



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 is no sentence to reduce.

        IT IS THEREFORE ORDERED that Petitioner’s motion to reduce his sentence (Doc. 239)

 is DENIED.

        IT IS FURTHER ORDERED that Petitioner’s motion to vacate (Doc. 235) is DENIED and

 his petition is DISMISSED WITH PREJUDICE. No certificate of appealability shall issue.

        Judgment will be entered accordingly.

        IT IS SO ORDERED this 1st day of February, 2017.


                                                            /s/P. K. Holmes, III
                                                            P.K. HOLMES, III
                                                            CHIEF U.S. DISTRICT JUDGE




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